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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

              Plaintiffs,

      v.                                     Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

              Defendants.


                                       ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that Defendants’ Motion to Dismiss, ECF No. 22, is DENIED.



DATE: August 11, 2021
                                                    CARL J. NICHOLS
                                                    United States District Judge




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